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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THE TRUSTEES OF THE                     :
 UNIVERSITY OF                           :
 PENNSYLVANIA                            :
                   Plaintiff,            :
                                         :
              v.                         :     CIVIL ACTION
                                         :     No. 21-4490
 FACTORY MUTUAL                          :
 INSURANCE COMPANY,                      :
                Defendant.               :

                                      ORDER

      AND NOW, this 17th day of June 2024, it appearing to the court that the

above captioned case, which was stayed on April 11, 2024, is still unable to

proceed to trial without delay for reasons which are beyond the Court’s control, it is

hereby ORDERED that this case shall remain stayed for no more than six

months from the date of this Order unless continued in stayed status by further

order of the court.

      It is FURTHER ORDERED that, on or before December 17, 2024, the

parties must provide a status update regarding the continued presence or

absence of the reasons why this case is unable to proceed to trial without delay.




                                       __s/ANITA B. BRODY, J.________
                                       ANITA B. BRODY, J.
